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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )            4:11CR3085
                    Plaintiff,                )
                                              )
                                              )       DETENTION ORDER
      vs.                                     )
                                              )        PETITION FOR
FABIAN ANTILLON-ESTRADA,                      )     ACTION ON CONDITIONS
                                              )              OF
                    Defendant.                )      PRETRIAL RELEASE
                                              )



    The defendant waived the right to a detention hearing and agreed to detention.
Pursuant to 18 U.S.C. § 3142(f) and § 3143(a) of the Bail Reform Act, and Fed. R. Crim.
P. 32.1(a)(6),


    IT IS ORDERED,

    The above-named defendant shall be detained until further order.


    June 9, 2011                              BY THE COURT:


                                              s/Cheryl R. Zwart
                                              United States Magistrate Judge
